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Case 3:18-CV-OOGOO-RC.]-WGC Document 8 Filed 01/22/19 Page 1 of 2

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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

COURAGE UHUMWNOMA OSAWE, Case No. 3118-cV-()0600-RCJ-WGC

)
)
Plaimiff, )
)
VS.

)
)
DMV INVESTIGATOR JENNIFER TINSLEY,)
DMV INVESTIGATOR BRIAN BOWLES; )
DMV INVESTIGATOR WILLIAM LYONS; )
AND DMV SERGEANT TODD PARDINI; )
AND JOHN DOES ITHROUGH X,
INCLUSIVE,
Defendants.
STIPULATION AND ORDER FOR EXTENSION OF TIME FOR DEFENDANTS TO
RESPOND TO COIV[PLAINT
I.

Plaintiff, COURAGE UHUMWNOMA OSAWE, by and through counsel, Luke Andrew Busby,
(hereinafter “Plaintiff”), and Defendants, JENNIFER TINSLEY, BRIAN BOWLES, WILLIAM
LYONS, and TODD PARDINI by and through counsel, Aaron D. Ford, Attorney General of the State
of Nevada, and Nathan L. Hastings, Senior Deputy Attorney General (hereinafter “Defendants”), hereby

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Case 3:18-Cv-OOGOO-RC.]-WGC Document 8 Filed 01/22/19 Page 2 of 2

STIPULATE and AGREE that the time for Defendants to file and serve an answer, other responsive
pleading, or other dispositive motion in this matter should be extended from January 23, 2019, for a
period of 10 days, up to and including February 4, 2019.

Counsel for Defendants has represented to Plaintifr’s Counsel that the reason for this extension

is related to competing hearings and filing deadlines, and not for any dilatory purpose.

 

 

 

 

DATED: ///Z Z,// 6/? DATED; 1/22/2019
AARON D. FORD LUKE ANDREW BUSBY
Attorney eneral

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Attorneys for Attorneys for State ofNevada Attorney for Plaintiff

Department of Publie Safety
Division of Parole and Probation (Division)

II.
ORDER EXTENDING TIME FOR DEFENDANTS TO RESPOND TO COMPLAINT

Having considered the preceding Sz‘ipulation for Extension of T ime for Defendanfs to Respond to
Complaim‘, as agreed to by the parties hereinabove, and for other GOOD CAUSE, THE COURT hereby
ORDERS that: the time for Defendants to file and serve an answer, other responsive pleading, or other
dispositive motion in this matter should be extended from January 23, 2019, fora period of 10 days, up
to and including Fehrualy 4, 2019.

IT IS SO ORDERED.

Dated this day of , 2019.

 

UNITED STATES DISTRICT COURT JUDGE

 

 

 

